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AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2) Page | of 2 (Page 2 Not for Public Disclosure)

UNITED STATES DISTRICT COURT

for the

Southern District of lowa

United States of America

 

 

 

 

Vv. )
Christopher James McGee Case No: 3:07cr0634
) USM No: 22709-424
Date of Original Judgment: 11/05/2009 )
Date of Previous Amended Judgment: )
(Use Date of Last Amended Judgment if Any) Defendant's Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(2)

Upon motion of | the defendant [| the Director of the Bureau of Prisons the court under 18 U.S.C,
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
[VIDENIED. L_]GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of months is reduced to

 

(Complete Parts I and II of Page 2 when motion is granted)

United States Sentencing Guideline Amendment 782
The court has received lists of persons convicted of drug offenses in this court from the Bureau of Prisons and other sources. Still,
through motions and otherwise, additional drug offenders have come to the court's attention. The Federal Public Defender's
Office developed a system on its website for offenders and their families to call in and request that their sentence be reviewed.
This is one of those cases.

The court’s ability to reduce this sentence was limited, in whole or in part, by a mandatory minimum
term of incarceration.

 

 

Except as otherwise provided, all provisions of the judgment dated shall remain in effect.
IT ISSO ORDERED.

Order Date: 12/04/2015) 7

Effective Date: John A. Jarvey, Chief United States District Judge

 

(if different from order date) Printed name and title
